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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BRITTANY MCHENRY,

                        Plaintiff,

             v.
                                                        Case No.: 1:19-cv-11294-PAE
 FOX NEWS NETWORK, LLC, FOX
 CORPORATION, GEORGE MURDOCH
 (A/K/A “TYRUS”), JENNIFER
 RAUCHET, JOHN FINLEY, and
 MONICA MEKEEL,

                        Defendants.




                        STIPULATED PROTECTIVE ORDER

       WHEREAS, the undersigned parties have agreed to, and the Court approves, the

following terms governing confidential information, and IT IS HEREBY ORDERED THAT:

                  1.      As used herein:

                  (a)      “Designating Party” shall mean any party to this action designating

material as CONFIDENTIAL or ATTORNEYS’ EYES ONLY.

                  (b)      “Non-Designating Party” shall mean the party to this action and/or any

non-party receiving material marked as CONFIDENTIAL or ATTORNEYS’ EYES ONLY.

                  2.       Counsel for any party may designate any document or information, in

whole or in part, that contains non-public financial, commercial, or business information, or that

contains non-public highly sensitive personal information, as confidential if counsel determines,

in good faith, that such designation is necessary to protect the interests of the client, or disclosure

would be either restricted by law or would likely cause the producing party to violate their



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privacy or confidentiality obligations to others. The Designating Party may designate

confidential information and documents as confidential by stamping it “CONFIDENTIAL.”

Information and documents so designated are referred to herein as “Confidential Information.”

               3.      Counsel for any party may designate as “ATTORNEYS’ EYES ONLY”

any information or documents when such party believes, in good faith, that such material

contains trade secrets or other highly confidential or proprietary information, the disclosure of

which is likely to cause significant competitive harm or other economic disadvantage to the

designating party. Information and documents so designated are referred to herein as

“Attorneys’ Eyes Only Information.”

               4.      “CONFIDENTIAL” and “ATTORNEYS’ EYES ONLY” designations

may be made as follows:

               (a)     For information in documentary form (other than depositions or

transcripts), counsel may make confidentiality designations by stamping or labeling the first page

of each such document CONFIDENTIAL or ATTORNEYS’ EYES ONLY or by any other

reasonable means of giving notice of the party’s intent to claim protected status of the material in

question.

               (b)     For testimony or exhibits offered in a deposition or other proceeding,

counsel may make confidentiality designations by notifying opposing counsel on the record

during or at the conclusion of the proceeding that the information provided in the deposition or

other proceeding is considered CONFIDENTIAL or ATTORNEYS’ EYES ONLY and that the

transcript (or portions thereof) shall be subject to the provisions of this Order. In addition, a

party may reserve the right on the record during or at the conclusion of the proceeding to make

such confidentiality designations up to twenty (20) days after receipt of the final transcript, and




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in that event, the information shall be treated as Attorneys’ Eyes Only until such designation is

made or the twenty (20) day period expires (whichever occurs first).

               (c)       For information or items produced in other forms, counsel may make

confidentiality designations by stamping or labeling the exterior of the container(s) in which the

information or item is stored CONFIDENTIAL and/or ATTORNEYS’ EYES ONLY or by any

other reasonable means of providing notice of the designations.

               5.        The Confidential Information and Attorneys’ Eyes Only Information

disclosed will be held and used by the Non-Designating Party solely for use in connection with

the above-captioned action, unless such information and documents that constitute the

Confidential Information or Attorneys’ Eyes Only Information have been publicly disclosed by

the Designating Party.

               6.        In the event a party challenges another party’s designation of

confidentiality, counsel shall make a good faith effort to resolve the dispute, and in the absence

of a resolution, the challenging party may seek resolution by the Court by requesting an informal

conference pursuant to Local Rule 37.2 and Section 2.C. of Judge Engelmayer’s Individual Rules

and Practices in Civil Cases (“Judge Engelmayer’s Rules”). The documents or information that

are the subject of the CONFIDENTIAL or ATTORNEYS’ EYES ONLY designation shall

remain treated as CONFIDENTIAL or ATTORNEYS’ EYES ONLY under the protection of this

Order pending the Court’s decision resulting from the informal conference. Acceptance by the

Non-Designating Party of material designated as CONFIDENTIAL or ATTORNEYS’ EYES

ONLY shall not constitute a concession that any such discovery material is appropriately

designated.




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               7.      Nothing in this Protective Order constitutes an admission by any party that

Confidential Information and Attorneys’ Eyes Only Information disclosed in this case is relevant

or admissible. Each party reserves the right to object to the use or admissibility of the

Information.

               8.      All documents designated as “CONFIDENTIAL” shall not be disclosed to

any person, except:

               (a)     The requesting party, including any individually-named party, so long as

he or she agrees to comply with and be bound by the terms of this Order, and counsel, including

in-house counsel;

               (b)     Employees of such counsel assigned to and necessary to assist in the

litigation;

               (c)     Consultants or experts assisting in the prosecution or defense of the

matter, to the extent deemed necessary by counsel and subject to Paragraph 10 below;

               (d)     The principals, officers, agents, and employees of Defendants Fox News

Network, LLC or Fox Corporation whom said Defendants believe in good faith have a need to

review such documents or information;

               (e)     Any witness to whom such documents or information is disclosed in the

course of any hearing or deposition, so long as the disclosure is reasonably necessary for

purposes of this litigation, and provided such person has, prior to disclosure, been advised of the

contents of this Order; notwithstanding the foregoing, however, a person to whom disclosure is

made pursuant to this subparagraph shall not be permitted to retain copies of such Confidential

Information and shall only be permitted to access such Confidential Information in the course of

providing testimony;




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               (f)     Court personnel;

               (g)     Court reporters and any stenographers engaged to transcribe depositions

conducted in this action in this action; and

               (h)     Any other person whom the Designating Party agrees in writing may have

access to such Discovery Material.

               9.      All documents designated as “ATTORNEYS’ EYES ONLY” shall not be

disclosed to any person, except:

               (a)     Attorneys of record for the parties and in-house counsel of Defendants

Fox News Network, LLC or Fox Corporation involved in the defense of this action;

               (b)     Employees of such counsel assigned to and necessary to assist in the

litigation;

               (c)     Consultants or experts assisting in the prosecution or defense of the

matter, to the extent deemed necessary by counsel and subject to Paragraph 10 below;

               (d)     Any witness to whom such document or information is disclosed during

the course of any hearing or deposition provided that such witness appears, on the face of the

Attorneys’ Eyes Only Information, to have authored or received the information and provided

further that such person has, prior to disclosure, been advised of the contents of this Order;

notwithstanding the foregoing, however, a person to whom disclosure is made pursuant to this

subparagraph shall not be permitted to retain copies of such Attorneys’ Eyes Only Information

and shall only be permitted to access such Attorneys’ Eyes Only Information in the course of

providing testimony;

        (e)    Court reporters and any stenographers engaged to transcribe depositions

conducted in this action in this action; and




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       (f)      Court personnel.

                10.      Prior to disclosing or displaying the Confidential Information or

Attorneys’ Eyes Only Information to any person referred to in Paragraphs 8(c) or 9(c), above,

counsel must:

                (a)      Inform the person of the confidential nature of the information or

documents;

                (b)      Inform the person that this Court has enjoined the use of the information

or documents by him/her for any purpose other than this litigation and has enjoined the

disclosure of the information or documents to any other person; and

                (c)      Require each such person to agree in writing to be bound by the terms of

this Order by executing the attached Agreement.

                11.      The disclosure of a document or information without designating it as

CONFIDENTIAL or ATTORNEYS’ EYES ONLY shall not constitute a waiver of the right to

designate such document or information as Confidential Information or Attorneys’ Eyes Only

Information. If so designated, the document or information shall thenceforth be treated as

Confidential Information or Attorneys’ Eyes Only Information subject to all the terms of this

Stipulation and Order.

                12.      A Non-Designating Party in receipt of materials designated by another

party as CONFIDENTIAL or ATTORNEYS’ EYES ONLY shall not file such materials in the

public record unless the Designating Party agrees that the CONFIDENTIAL or ATTORNEYS’

EYES ONLY material can be filed in the public record. To the extent the Designating Party

does not agree that the CONFIDENTIAL or ATTORNEYS’ EYES ONLY materials may be

filed in the public record, the Non-Designating Party must file the materials under seal in




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accordance with the procedures set forth in Section 4.B. of Judge Engelmayer’s Rules and

Section 6 of the U.S. District Court for the Southern District of New York Electronic Case Filing

Rules & Instructions (“ECF Rules”). The portions of any pleadings, motion papers or other

papers that contain summaries or quotations of any CONFIDENTIAL or ATTORNEYS’ EYES

ONLY materials shall be redacted and filed in accordance with the procedures set forth in

Sections 4.B. and 6 of Judge Engelmayer’s Rules.

                13.     Any material subject to this Order, and which is otherwise admissible,

may be used at trial, provided, however, that the parties agree that they will work with the Court

to identify trial procedures that will protect and maintain the non-public nature of material

subject to this Order. Prior to the use at trial of material subject to this Order, all stamps, labels,

or other designations placed on the material pursuant to this Order shall be removed.

                14.     The inadvertent or unintentional disclosure by any party of documents or

information protected from discovery as an attorney-client communication, work product or

otherwise protected under Federal Rule of Civil Procedure 26 (the “Privileged Material”),

regardless of whether the information was designated as CONFIDENTIAL or ATTORNEYS’

EYES ONLY at the time of disclosure, shall not be deemed a waiver in whole or in part of that

disclosing party’s claim of privilege, either as to the specific documents or information disclosed

or as to any other documents or information relating thereto or on the same or related subject

matter. The recipient of such Privileged Material shall (i) return it, without retaining any copy of

it, upon recognizing its status, or within three (3) days from a demand (the “Demand”) by the

disclosing party, whichever occurs first; (ii) destroy all summaries, notes, memoranda or other

documents (or the portions thereof) referring to such Privileged Material; and (iii) not use such

documents containing Privileged Material for any purpose until further order of the Court. If the




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receiving party disputes the disclosing party’s Demand, the matter shall be presented by the

disclosing party to the Court for resolution pursuant to Local Civil Rule 37.2 and Section 2.C. of

Judge Engelmayer’s Rules. Further, if the recipient has already shared such Privileged Material

prior to recognizing its protected status or prior to a Demand for its return, that recipient shall

promptly notify the other affected persons, and collect and return all copies.

               15.       At the conclusion of litigation, the receiving party must promptly (and in

no event later than 30 days after entry of final judgment no longer subject to further appeal)

return the Confidential Information and Attorneys’ Eyes Only Information and any copies

thereof to the producing party or certify that it has been destroyed, except that the parties’

counsel shall be permitted to retain their work product on the condition that any work product

will remain protected.

               16.       Nothing in this Order shall limit the Designating Party’s rights concerning

the Confidential or Attorneys’ Eyes Only Information that he, she, or it designated. Similarly,

nothing in this Order shall limit any Party’s right to seek an Order from the Court that would

provide Confidential or Attorneys’ Eyes Only Information designation to materials outside the

scope of this Order.




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         So Stipulated and agreed:

 THE BLOOM FIRM                            JONES DAY
 Attorneys for Plaintiff                   Attorneys for Defendants Fox News Network,
                                           LLC, Fox Corporation, Jennifer Rauchet,
                                           John Finley, and Monica Mekeel


 By:                                       By: /s/ Maryssa A. Mataras
       Lisa Bloom, Esq                        Matthew W. Lampe
       Arick Fudali, Esq.                     Kristina A. Yost
       Anna Levine-Gronningsater, Esq.        Maryssa A. Mataras
       Sarah Bloom, Esq.                      250 Vesey Street
       85 Delancey St. #29                    New York, New York 10281
       New York, NY 10002

       Dated: ________________
                                            10/15/2020
                                               Dated: ______________




CLARE LOCKE LLP
Attorney for Defendant George Murdoch


By:_____________________________________
   Thomas A. Clare
   Ariel V. Lieberman
   10 Prince Street
   Alexandria, VA 22314

          10/15/2020
   Dated: ___________________




         SO ORDERED.


        October 19
Dated: _____________, 2020                 
                                          Honorable Paul A. Engelmayer
                                          United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BRITTANY MCHENRY,

                    Plaintiff,

             v.
                                                   Case No.: 1:19-cv-11294-PAE
 FOX NEWS NETWORK, LLC, FOX
 CORPORATION, GEORGE MURDOCH
 (A/K/A “TYRUS”), JENNIFER
 RAUCHET, JOHN FINLEY, and
 MONICA MEKEEL,

                    Defendants.




                                 AGREEMENT TO BE BOUND BY
                                    PROTECTIVE ORDER

       I have been informed by counsel that certain documents or information to be disclosed to

me in connection with the above-captioned matter have been designated as confidential or

attorneys’ eyes only. I have been informed that any such documents or information labeled

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” are confidential by Order of the Court. I

hereby agree that I will not disclose any such documents or information contained in such

documents to any other person. I further agree not to use any such documents or information for

any purpose other than this litigation.

DATED:


___________________________________
Signed in the presence of:


___________________________________
(Attorney)


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